                                                             United States District Court
                                                                 Southern District of Texas

                                                                    ENTERED
               IN THE UNITED STATES DISTRICT COURT
                                                                  August 18, 2020

               FOR THE SOUTHERN DISTRICT OF TEXAS
                                                                 David J. Bradley, Clerk

                        HOUSTON DIVISION

RONALD JEFFREY PRIBLE,              §
            Petitioner,             §
                                    §
v.                                  §CIVIL ACTION No. 4:09-CV-1896
                                    § (Death Penalty Case)
BOBBY LUMPKIN,                      §
Director, Texas Department of       §
Criminal Justice, Correctional      §
Institutions Division,              §
                   Respondent.      §

                                 ORDER

     Respondent’s Motion for Clarification is GRANTED.

     It is so ORDERED.

     SIGNED on this the _____          August
                        17th day of _______________, 2020.



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                                 JUDGE PRESIDING
